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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &      FOR COURT USE ONLY
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        Individual appearing without an attorney
        Attorney for Bradley D. Sharp, Chapter 11 Trustee

                                            UNITED STATES BANKRUPTCY COURT
                                   CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                        CASE NO.: 2:23-bk-10990-SK
                                                                                  CHAPTER: 11
             LESLIE KLEIN,
                                                                                  NOTICE OF LODGMENT OF ORDER IN
                                                     Debtor(s)
                                                                                  BANKRUPTCY CASE RE: (title of motion1)
                                                                                  Motion for Order Enforcing the Automatic Stay
                                                                                  Against the Debtor, Daniel Crawford, the Crawford
                                                                                  Law Group, Leslie Klein & Associates, Inc., and
                                                                                  EKLK Foundation



      PLEASE TAKE NOTE that the order titled SECOND INTERIM ORDER GRANTING MOTION FOR ORDER
      ENFORCING THE AUTOMATIC STAY AND SANCTIONS AGAINST (A) THE DEBTOR, (B) DANIEL CRAWFORD,
      (C) CRAWFORD LAW GROUP, (D) LESLIE KLEIN & ASSOCIATES, INC., AND (E) EKLK FOUNDATION, AND
      RELATED RELIEF was lodged on (date) May 21, 2025 and is attached. This order relates to the Motion
      which is docket number 969.




1
    Please abbreviate if title cannot fit into text field.


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                                                                    7
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                                                                    8 Chapter 11 Trustee

                                                                    9                                  UNITED STATES BANKRUPTCY COURT

                                                                   10                                      CENTRAL DISTRICT OF CALIFORNIA

                                                                   11                                           LOS ANGELES DIVISION
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12 In re:                                             Case No. 2:23-bk-10990-SK

                                                                   13 LESLIE KLEIN,                                      Chapter 11
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14                                                    SECOND INTERIM ORDER GRANTING
                                                                                                 Debtor.                 MOTION FOR ORDER ENFORCING THE
                                                                   15                                                    AUTOMATIC STAY AND SANCTIONS
                                                                                                                         AGAINST (A) THE DEBTOR, (B) DANIEL
                                                                   16                                                    CRAWFORD, (C) CRAWFORD LAW GROUP,
                                                                                                                         (D) LESLIE KLEIN & ASSOCIATES, INC.,
                                                                   17                                                    AND (E) EKLK FOUNDATION, AND
                                                                                                                         RELATED RELIEF
                                                                   18
                                                                                                                         Date:        May 20, 2025
                                                                   19                                                    Time:        1:00 p.m.
                                                                                                                         Location:    U.S. Bankruptcy Court
                                                                   20                                                                 Courtroom 1545
                                                                                                                                      255 E. Temple St.
                                                                   21                                                                 Los Angeles, CA 90012
                                                                                                                         Judge:       Hon. Neil W. Bason
                                                                   22

                                                                   23             The Court having considered the Motion for Order Enforcing the Automatic Stay Against
                                                                   24 the Debtor, Daniel Crawford, the Crawford Law Group, Leslie Klein & Associates, Inc., and

                                                                   25 EKLK Foundation [Docket No. 969] (the “Motion”) filed by Bradley D. Sharp, the chapter 11

                                                                   26 trustee (the “Trustee”), and the Declaration of John W. Lucas in support thereof; the Opposition

                                                                   27 to the Motion for Order Enforcing the Automatic Stay Against the Debtor, Daniel Crawford, the

                                                                   28 Crawford Law Group, Leslie Klein & Associates, Inc., and EKLK Foundation [Docket No. 997]


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                                                                    1 (the “Original Opposition”) filed by Leslie Klein (the “Debtor”), Daniel Crawford, the Crawford

                                                                    2 Law Group, Leslie Klein & Associates, Inc., and EKLK Foundation; and the Reply to the

                                                                    3 Opposition to the Motion for Order Enforcing the Automatic Stay Against the Debtor, Daniel

                                                                    4 Crawford, the Crawford Law Group, Leslie Klein & Associates, Inc., and EKLK Foundation

                                                                    5 [Docket No. 999]; as well as the Notice of Lodgment of the proposed form of the first interim

                                                                    6 order [Docket No. 1014] and the lack of any objection to the form of the first interim order

                                                                    7 [Docket No. 1026] (the “First Interim Order”); and the Courting having previously found that

                                                                    8 the Debtor, Daniel Crawford, the Crawford Law Group, Leslie Klein & Associates, Inc., and

                                                                    9 EKLK Foundation have willfully violated section 362 of the Bankruptcy Code as set forth in the

                                                                   10 First Interim Order; and upon the Declaration of Jeffrey W. Dulberg [Docket No. 1028] (the

                                                                   11 “Dulberg Declaration”) in further support of the Motion regarding award of sanctions; and upon
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                   12 the Declaration of Daniel Crawford [Docket No. 1039] in response to and opposition to the

                                                                   13 Dulberg Declaration; and upon the Declaration of John W. Lucas [Docket No. 1053]; and for the
                                        LOS ANGELES, CALIFORNIA
                                           ATTORNEYS AT LAW




                                                                   14 reasons stated on the record of the May 20, 2025, hearing:

                                                                   15
                                                                                  IT IS HEREBY ORDERED,
                                                                   16
                                                                                  1.        The Motion is GRANTED and the Opposition is OVERRULED except as set forth
                                                                   17
                                                                        in the Court’s tentative ruling that is incorporated herein.
                                                                   18
                                                                                  2.        On or before June 3, 2025, the Debtor, Daniel Crawford, the Crawford Law Group,
                                                                   19
                                                                        Leslie Klein & Associates, Inc., and EKLK Foundation may file a response (the “Response”) to
                                                                   20
                                                                        [Docket No. 229], which Trustee’s counsel relies on for the purpose of establishing the reasonable
                                                                   21
                                                                        value of Trustee’s counsel’s services as determined by looking to the prevailing rates of other
                                                                   22
                                                                        attorneys in the community with like skill, experience, and reputation.
                                                                   23
                                                                                  3.        On or before June 10, 2025, the Trustee may file a reply to the Response.
                                                                   24
                                                                                  4.        The Court will hold a final hearing on June 24, 2025 at 1:00 p.m. on the Trustee’s
                                                                   25
                                                                        request for sanctions as set forth in the Motion and the other pleadings referenced herein that were
                                                                   26
                                                                        filed in support and in opposition to the Motion.
                                                                   27
                                                                                                                          ######
                                                                   28


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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
                          10100 Santa Monica Boulevard, Suite 1300, Los Angeles, CA 90067

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
May 21, 2025, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) May 21, 2025, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                           Service information continued on attached page



3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) May 21, 2025, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 Via Email:
 Eric J Olson: eric@ejolsonlaw.com

 Leslie Klein: les.kleinlaw@gmail.com;
 leskleinlaw@gmail.com; kleinlaw@earthlink.net

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


        May 21, 2025              Nancy H. Brown                                             /s/ Nancy H. Brown
 Date                             Printed Name                                                 Signature




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1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): 2:23-bk-10990-SK


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2. SERVED BY UNITED STATES MAIL:

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     Michael Jones, Assistant U.S. Trustee                 Oldman, Sallus & Gold, L.L.P.                  c/o Leslie Klein
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     915 Wilshire Boulevard, Suite 1850                    Encino, CA 91436                               Van Nuys, CA 91401
     Los Angeles, CA 90017

     Leslie Klein
     322 North June Street
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